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                           APPENDIX OF COMPLAINTS ADVANCING MARITIME CLAIMS

    Case Name and Docket #                                    Category - Type      Count(s) or ¶(s)
1   Abadie, Al, et al. v. BP, P.L.C., et al., 2:10-cv-02116-  Private Economic     ¶4
    CJB-SS                                                    Damages Claims -
                                                              Commercial Losses
2   American Gulf Seafood, LLC, et al. v. BP, P.L.C., et      Private Economic     ¶2
    al., 2:10-cv-01970-CJB-SS                                 Damages Claims -
                                                              Commercial Losses
3   Ascension Marine, Inc. v. BP, P.L.C., et al., 2:10-cv-    Private Economic     ¶¶ 2, 3, 15
    01857-CJB-SS                                              Damages Claims -
                                                              Commercial Losses
4   Babin, Joey L. v. BP, P.L.C., et al., 2:10-cv-03300-CJB- Private Economic      ¶4
    SS                                                        Damages Claims -
                                                              Commercial Losses
5   Bennett, Patricia P., et al. v. BP, P.L.C., et al., 2:10- Private Economic     ¶ 12
    cv-02991-CJB-SS                                           Damages Claims -
                                                              Commercial/Real
                                                              Property Losses
6   Black, Thomas Edward v. BP Exploration &                  Private Economic     ¶4
    Production, Inc., et al., 2:11-cv-00867-CJB-SS            Damages Claims -
                                                              Commercial Losses
7   Carnival Corporation d/b/a Carnival Cruise Lines v.       Private Economic     Counts 1, 2, 3
    BP Exploration & Production Inc., et al., 2:11-cv-        Damages Claims -     ¶9
    00952-CJB-SS                                              Commercial Losses

8   Casablanca Fish Market, Inc. v. BP, P.L.C., et al.,        Private Economic    ¶ 17
    2:10-cv-03106-CJB-SS                                       Damages Claims -
                                                               Commercial Losses

9   Casey, Michael Alan v. Cient, et al., 2:11-cv-01179-       Spill Response      ¶2
    CJB-SS                                                     Disputes
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10   Catalanotto, Kathy et al. v. BPXP et al., 2:11-cv-         Private Economic    ¶¶ 5, 6
     01339-CJB-SS                                               Damages Claims -
                                                                Commercial Losses
11   Copeland's of New Orleans, Inc., et al. v. BP, P.L.C.,     Private Economic    ¶4
     et al., 2:10-cv-01926-CJB-SS                               Damages Claims -
                                                                Commercial Losses
12   Creech, Dacien Thane v. Transocean, Ltd. et al.,           Private Economic    ¶ 10
     2:10-cv-03087-CJB-SS                                       Damages Claims -
                                                                Commercial/Real
                                                                Property Losses
13   D & H Outfitters, LLC v. BP, P.L.C., et al., 2:10-cv-      Private Economic    ¶¶ 2, 78
     01556-CJB-SS                                               Damages Claims -
                                                                Commercial Losses
14   Danger Corp. d/b/a/ Danger Charters v. Transocean          Private Economic    Count 2
     Ltd., et al., 2:10-cv-03113-CJB-SS                         Damages Claims -    ¶3
                                                                Commercial Losses
15   Decatur Hotels, LLC, et al. v. BP, P.L.C., et al., 2:10-   Private Economic    ¶4
     cv-01767-CJB-SS                                            Damages Claims -
                                                                Commercial Losses
16   Derouen, Uwell J. et al. v. BP P.L.C., et al., 2:10-cv-    Private Economic    ¶2
     01573-CJB-SS                                               Damages Claims -
                                                                Commercial Losses
17   DiStefano, Anthony, et al. v. BP America Production        Spill Response      ¶3
     Co., et al., 2:11-cv-00054-CJB-SS                          Disputes
18   Duet, Raymond, et al. v. BP, P.L.C., et al., 2:10-cv-      Private Economic    ¶4
     01519-CJB-SS                                               Damages Claims -
                                                                Commercial Losses
19   Dugas, Eugene B., et al. v. BP, P.L.C., et al., 2:10-cv-   Private Economic    Count 3
     01322-CJB-SS                                               Damages Claims -    ¶ 68
                                                                Commercial/Real
                                                                Property Losses



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20   Elmer, Charles C., et al. v. BP, P.L.C., et al., 2:10-cv-   Private Economic       Count 7
     01515-CJB-SS                                                Damages Claims -       ¶ 46
                                                                 Commercial/Real
                                                                 Property Losses
21   Faris, John, et al. v. Transocean, Ltd., et al., 2:10-cv-   Private Economic       ¶ 12
     02998-CJB-SS                                                Damages Claims -
                                                                 Commercial/Real
                                                                 Property Losses
22   Ferrara, Christopher A., et al. v. BP, P.L.C., et al.,      Private Economic       ¶ 26
     2:11-cv-01157-CJB-SS                                        Damages Claims -
                                                                 Real Property Losses
23   Frischhertz, James J., et al. v. Halliburton Energy         Private Economic       ¶¶ 4, 12, 22
     Services, Inc., et al., 2:10-cv-01908-CJB-SS                Damages Claims -
                                                                 Real Property Losses
24   Foussell, Dudley, et al. v. BP Exploration and              Spill Response         ¶3
     Prodcution, Inc., et al., 2:11-cv-01195-CJB-SS              Disputes

25   Gaskins, Matthews et al. v. BP P.L.C., et al., 2:10-cv-     Private Economic       Count 3
     02672-CJB-SS                                                Damages Claims -       ¶ 67
                                                                 Commercial Losses
26   Gay, Joe Glen v. Transocean, Ltd., et al., 2:10-cv-         Private Economic       ¶ 12
     02990-CJB-SS                                                Damages Claims -
                                                                 Real Property Losses
27   Greene, John v. BP, P.L.C., et al., 2:10-cv-04249-CJB-      Private Economic       ¶ 27
     SS                                                          Damages Claims -
                                                                 Real Property Losses
28   Gregoire et al. v. Transocean Ltd. et al., 2:10-cv-         Private Economic       ¶ 25
     01351-CJB-SS                                                Damages Claims -
                                                                 Commercial Losses




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29   Grupo Turistico Tamaulipas S.A. de C.V. v. BP, P.L.C.,      Private Economic    Counts 1, 2, 3, and 5
     et al., 2:11-cv-01055-CJB-SS                                Damages Claims -    ¶¶ 53, 55
                                                                 Commercial/Real
                                                                 Property Losses
30   Harris, John T. et al. v. Transocean, Ltd., et al., 2:10-   Private Economic    ¶ 12
     cv-02662-CJB-SS                                             Damages Claims -
                                                                 Commercial Losses
31   Harris, Nicholas et al. v. Transocean, Ltd. et al.,         Private Economic    ¶ 12
     2:10-cv-02665-CJB-SS                                        Damages Claims -
                                                                 Commercial Losses
32   Hook & Nail, LLC et al. v. BPAPC et al., 2:11-cv-           Private Economic    ¶3
     00935-CJB-SS                                                Damages -
                                                                 Recreation Claims
33   Hopper, Paul, d/b/a Hopper Seafood, d/b/a Grand             Private Economic    ¶ 24
     Bature Seafood v. Cameron International                     Damages Claims -
     Corporation, et al., 2:10-cv-02674-CJB-SS                   Commercial Losses

34   Ivic, Michael, et al. v. BP, P.L.C., et al., 2:10-cv-       Private Economic    ¶ 27
     01249-CJB-SS                                                Damages Claims -
                                                                 Commercial Losses
35   J & M Boat Rentals, LLC v. BP, P.L.C., et al., 2:10-cv-     Private Economic    Count 4
     01747-CJB-SS                                                Damages Claims -
                                                                 Commercial Losses
36   Kelt, Richard, Jr. et al. v. Transocean et al., 2:11-cv-    Private Economic    ¶3
     00924-CJB-SS                                                Damages Claims -
                                                                 Commercial Losses
37   Kershaw, Scotty et al v. BP America, Inc. et al., 2:10-     Private Economic    ¶¶ 1, 2
     cv-04271-CJB-SS                                             Damages Claims -
                                                                 Commercial Losses




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38   Kilgore Realty, LLC et al. v. Transocean, Ltd. et al.,   Private Economic       ¶ 11
     2:10-cv-03086-CJB-SS                                     Damages Claims -
                                                              Commercial Losses
39   Knotty Girl Fishing LLC, et al. v. Worley Catastrophe    Private Economic       ¶¶ 2, 7
     Services LLC, et al., 2:11-CV-00649-CJB-SS               Damages Claims -
                                                              Commercial/Real
                                                              Property Losses
40   LaBorde, Dennis M. v. BPAPC et al., 2:11-cv-00934-       Private Economic       ¶3
     CJB-SS                                                   Damages Claims -
                                                              Real Property Losses
41   Lam, Qui, et al. v. BP Exploration and Production,       Spill Response         ¶V
     Inc., et al., 2:11-cv-01274-CJB-SS                       Disputes

42   Lantier, Rickey v. BP America, Inc., et al., 2:10-cv-     Private Economic      ¶¶ 1, 2
     04144-CJB-SS                                              Damages Claims -
                                                               Commercial Losses
43   Le, Tam V. et al. v. BP, P.L.C., et al., 2:10-cv-02114-   Private Economic      Counts 1 & 4
     CJB-SS                                                    Damages Claims -
                                                               Commercial Losses
44   Marino, Charles et al. v. BP America, Inc. et al., 2:11- Private Economic       ¶¶ 1, 2
     cv-00940-CJB-SS                                           Damages Claims -
                                                               Commercial/Real
                                                               Property Losses
45   Marlin Oilfield Divers, Inc. v. BP, P.L.C., et al., 2:11- Private Economic      ¶3
     cv-00855-CJB-SS                                           Damages Claims -
                                                               Commercial Losses
46   Mason, James F. Jr., et al. v. Transocean, Ltd., et al., Private Economic       ¶ 11
     2:10-cv-02639-CJB-SS                                      Damages Claims -
                                                               Commercial Losses
47   Minnon, Catherine v. BP America Production                Spill Response        ¶2
     Company, 2:11-cv-01860-CJB-SS                             Disputes



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48   Necaise, Steven et al v. BP America Production            Spill Response      ¶ VIII
     Company, 2:10-cv-04134-CJB-SS                             Disputes

49   Nguyen, Giang T. v BP, P.L.C., et al., 2:10-cv-01852-Private Economic         ¶¶ 2, 3, 15
     CJB-SS                                               Damages Claims -
                                                          Commercial Losses
50   Nguyen, Giau V. v. BP P.L.C., et al., 2:10-cv-01855- Private Economic         ¶¶ 2, 3, 15
     CJB-SS                                               Damages Claims -
                                                          Commercial Losses
51   Nguyen, Khai, et al. v. BP Exploration & Production, Spill Response           ¶3
     Inc., et al., 2:11-cv-00685-CJB-SS                   Disputes

52   Nguyen, Sang-Thanh v. BP P.L.C., et al., 2:10-cv-         Private Economic    ¶¶ 2, 3, 15
     01850-CJB-SS                                              Damages Claims -
                                                               Commercial Losses
53   P & S Restaurant Group, Louisiana, LLC v. BP,             Private Economic    ¶¶ 2, 3, 15
     P.L.C., et al., 2:10-cv-01574-CJB-SS                      Damages Claims -
                                                               Commercial Losses
54   Parish of Plaquemines v. BP P.L.C., et al., 2:11-cv-      Private Economic    ¶¶ 2, 3, 18, 24
     00916-CJB-SS                                              Damages Claims -
                                                               Commercial/Real
                                                               Property Losses
55   Plaquemines Port, Harbor and Terminal District v.         Private Economic    ¶¶ 2, 3, 18, 24
     BP PLC, et al., 2:11-cv-00917-CJB-SS                      Damages Claims -
                                                               Commercial/Real
                                                               Property Losses
56   Plash Island Resort, LLC v. BP P.L.C., et al., 2:11-cv-   Private Economic    Count 3
     00551-CJB-SS                                              Damages Claims -
                                                               Commercial/Real
                                                               Property Losses




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57   Quality Preheat & Pressure Washers, Inc. v. BPXP,        Private Economic       ¶I
     et al., 2:11-cv-00920-CJB-SS                             Damages Claims -
                                                              Commercial/Real
                                                              Property Losses

58   Reese, Jr., John C. v. BP America Production Co.,        Spill Response         ¶2
     2:11-cv-01861-CJB-SS                                     Disputes
59   Revenue Properties Southland Limited Partnership v.      Private Economic       ¶3
     BP, P.L.C., et al., 2:10-cv-01947-CJB-SS                 Damages Claims -
                                                              Commercial Losses

60   Schaff, Captain Darren Patrick v. BP, P.L.C., et al., Private Economic          ¶4
     2:10-cv-01484-CJB-SS                                  Damages Claims -          Count 1
                                                           Commercial Losses
61   Scheer, Stuart et al. v. BP Exploration & Production, Private Economic          ¶ 12
     Inc., et al., 2:11-cv-00866-CJB-SS                    Damages Claims -
                                                           Commercial Losses
62   Seaman, Alden Royal v. BP America Production Co., Spill Response                ¶2
     2:11-cv-01180-CJB-SS                                  Disputes

63   Sellno, Gary, et al. v. BP Exploration & Production,     Private Economic       ¶¶ 39, 71
     Inc., et al., 2:11-cv-00925-CJB-SS                       Damages Claims -
                                                              Real Property Losses
64   Service One, L.L.C. v. BPXP et al., 2:11-cv-00921-CJB-   Private Economic       ¶1
     SS                                                       Damages Claims -
                                                              Commercial/Real
                                                              Property Losses
65   Simpson, George v. Transocean, Ltd., et al., 2:10-cv-    Private Economic       ¶¶ 11, 18
     02647-CJB-SS                                             Damages Claims -
                                                              Real Property Losses




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66   Sprinkle, Christopher M. v. BP America Production        Spill Response      Count 2
     Co., 2:11-cv-01255-CJB-SS                                Disputes            ¶2

67   Terrell, Tim, as Class Representative of the Victims     Private Economic    ¶¶ 4, 5
     of the B.P. p.l.c. caused oil in the Gulf of Mexico on   Damages Claims -
     April 20, 2010, 2:11-cv-1806-CJB-SS                      Commercial Losses

68   Tharpe, David, et al. v. BP America Production Co.,      Spill Response      ¶1
     et al., 11-6556                                          Disputes
69   Verdin, Captain Cherry David v. BP, plc, et al., 2:10-   Private Economic    Count 1
     cv-01841-CJB-SS                                          Damages Claims -    ¶4
                                                              Commercial Losses

70   Verdin, Captain Irene D. v. BP, plc, et al., 2:10-cv-    Private Economic    Count 1
     01842-CJB-SS                                             Damages Claims -    ¶4
                                                              Commercial Losses

71   Vision Bank v. 145, LLC, et al., 2:11-cv-00912-CJB-SS    Private Economic    ¶¶ 232, 244
                                                              Damages Claims -
                                                              Commercial/Real
                                                              Property Losses

72   Vu, Phuc v. BP America Production Company, 2:11-         Spill Response      ¶2
     cv-02063                                                 Disputes




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